


















COURT OF APPEALS

SECOND DISTRICT OF TEXAS

FORT WORTH

NO. 2-09-083-CR
				



GARWIN JOVARIS WALKER						 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;	APPELLANT



V.

THE STATE OF TEXAS	STATE

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FROM CRIMINAL 
DISTRICT COURT NO. 3 OF TARRANT COUNTY

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MEMORANDUM OPINION
(footnote: 1) AND JUDGMENT

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We have considered “Appellant’s Motion To Dismiss Appeal.” &nbsp;The motion complies with rule 42.2(a) of the rules of appellate procedure. Tex. R. App. P. 42.2(a). &nbsp;No decision of this court having been delivered before we received this motion, we grant the motion and dismiss the appeal. 
 See id.;
 Tex. R. App. P. 43.2(f).

PER CURIAM



PANEL: &nbsp;
CAYCE, C.J.; LIVINGSTON
 and DAUPHINOT, JJ.

DO NOT PUBLISH

Tex. R. App. P. 
47.2(b)



DELIVERED: August 6, 2009

FOOTNOTES
1:See
 
Tex. R. App. P.
 47.4.




